Case 4:19-cv-02033-YGR Document 296-15 Filed 09/09/22 Page 1 of 4




         EXHIBIT 22
                      Case 4:19-cv-02033-YGR Document 296-15 Filed 09/09/22 Page 2 of 4




                       From: Kevan Parekh <                      >
                     Subject: FQ1 Week 8 Top iPhone Run Chart Update
                Received(Date): Mon, 26 Nov 2018 16:26:52 -0800
                          Cc: Jeff Williams <                     >, Luca Maestri
                                <                 >,Saori Casey <                        >, Donal Conroy
                                <                       >,Ed Tharp <                        >, Andy Allen
                                <                    >,Mark Anderson <                                 >
                          To: Tim Cook <                   >
                 Attachment: WW iPhone Top Models and Countries.pdf
                 Attachment: PastedGraphic-4.png
                 Attachment: PastedGraphic-5.png
                        Date: Mon, 26 Nov 2018 16:26:52 -0800

               Hi Tim,

               Here is this week’s view of the following request (2 pan geo clippings and attached pdf
               with additional views for reseller and direct):

               > A simple two line graph showing the “top” by week (actual and forecast) compared to
               last year. I’ve been doing this manually.
               >
               > -A simple chart showing the YoY weekly absolute CHANGE in the top for the top 10
               countries (counting GC as one country) along with the percentage change.

               Please let us know if you have any questions or want any additional information

               Kevan




               Hi Tim,

               Here is this week’s view of the following request (2 pan geo clippings and attached pdf with
               additional views for reseller and direct):

               A simple two line graph showing the “top” by week (actual and forecast) compared to last year.
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               -A simple chart showing the YoY weekly absolute CHANGE in the top for the top 10 countries
               (counting GC as one country) along with the percentage change.




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                      Case 4:19-cv-02033-YGR Document 296-15 Filed 09/09/22 Page 3 of 4




               Please let us know if you have any questions or want any additional information

               Kevan




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                      Case 4:19-cv-02033-YGR Document 296-15 Filed 09/09/22 Page 4 of 4




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